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     PIPER ZIV
5
                               UNITED STATES DISTRICT COURT
6
                              CENTRAL DISTRICT OF CALIFORNIA
                                    WESTERN DIVISION
7

8    PIPER ZIV,                       ) Case No.:
                                      )
9                                     ) COMPLAINT
                 Plaintiff,           )
10                                    ) (Unlawful debt collection practices)
          v.                          )
11   WESTSIDE RECOVERY SERVICES, LLC; )
     LEONARD GILBERT d/b/a WESTSIDE   )
12   RECOVERY SERVICES, LLC; LEONARD )
     GILBERT, an individual;          )
13
                   Defendant(s).
14
           PIPER ZIV (Plaintiff), by her attorneys, WESTGATE LAW, alleges the following
15
     against WESTSIDE RECOVERY SERVICES, LLC; LEONARD GILBERT d/b/a WESTSIDE
16
     RECOVERY SERVICES, LLC; LEONARD GILBERT, an individual (Defendants):
17
                                          INTRODUCTION
18
        1. Count I of Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15
19
           U.S.C. 1692 et seq. (FDCPA).
20
        2. Count II of the Plaintiff’s Complaint is based on Rosenthal Fair Debt Collection Practices
21
           Act, Cal. Civ. Code §1788 et seq. (RFDCPA).
22
                                   JURISDICTION AND VENUE
23
        3. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that such
24
           actions may be brought and heard before “any appropriate United States district court
25




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1          without regard to the amount in controversy,” and 28 U.S.C. 1367 grants this court

2          supplemental jurisdiction over the state law claims contained herein.

3       4. Defendant Westside Recovery Services, LLC maintains a principal place of business in

4          Los Angeles, California and conducts business throughout the state of California;

5          therefore, personal jurisdiction is established.

6       5. Defendant Leonard Gilbert d/b/a Westside Recovery Services, LLC maintains a principal

7          place of business in Los Angeles, California and conducts business throughout the state of

8          California; therefore, personal jurisdiction is established.

9       6. Upon information and belief, Defendant Leonard Gilbert, an individual, is a resident and

10         citizen of the State of California residing in the Los Angeles area, and more specifically

11         Plaintiff believes the County of Residence to be Los Angeles County. Upon information

12         and belief, Defendant Leonard Gilbert, an individual, is also the owner of Westside

13         Recovery Services, LLC, either as a standalone business entity or as a dba.

14      7. Venue is proper pursuant to 28 U.S.C. 1391(b)(2).

15                                              PARTIES

16      8. Plaintiff is a natural person residing in Oxnard, Ventura County, California.

17      9. Plaintiff is a consumer as that term is defined by 15 U.S.C. 1692a(3), and according to

18         Defendant, Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C. 1692a(5)

19         and Cal. Civ. Code § 1788.2(h).

20      10. Defendant Westside Recovery Services, LLC is a debt collector as that term is defined by

21         15 U.S.C. 1692a(6) and Cal. Civ. Code §1788.2(c), and sought to collect a consumer debt

22         from Plaintiff.

23      11. Defendant Leonard Gilbert d/b/a Westside Recovery Services, LLC is a debt collector as

24         that term is defined by 15 U.S.C. 1692a(6) and Cal. Civ. Code §1788.2(c), and sought to

25         collect a consumer debt from Plaintiff.




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1       12. Defendant Leonard Gilbert, an individual, is a debt collector as that term is defined by 15

2          U.S.C. 1692a(6) and Cal. Civ. Code §1788.2(c), and sought to collect a consumer debt

3          from Plaintiff.

4       13. Defendants acted through their agents, employees, officers, members, directors, heirs,

5          successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

6                                          FACTUAL ALLEGATIONS

7       14. Since 2015, and specifically within one year prior to the filing of this action, Defendants

8          contacted and/or attempted to contact Plaintiff to collect money, property, or their

9          equivalent, due or owing or alleged to be due or owing from a natural person by reason of

10         a consumer credit transaction and/or “consumer debt” originally owed to someone other

11         than Defendant.

12      15. Defendants sent a letter to Plaintiff dated December 11, 2015, in an attempt to collect a

13         debt allegedly owed by Plaintiff to Kansal, Inc. See Collection Letter attached hereto as

14         Exhibit “A.”

15      16. Plaintiff’s alleged debt owed to Kansal, Inc. arose from transactions for personal,

16         household, and/or family purposes.

17      17. Defendants’ December 11, 2015 letter was Defendant’s initial correspondence with

18         Plaintiff.

19      18. Defendants’ letter stated as follows:

20                 If you notify this office within 30 days from receiving this notice,
                   this office will obtain verification of this debt or obtain a copy of a
21                 judgment and mail you a copy of such judgment or verification.
22         See Exhibit “A.”
23      19. Defendants’ letter failed to state that a writing is required from Plaintiff disputing the debt

24         or requesting verification in order for Defendant to provide verification of the debt.

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                                     COUNT I
1           DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT
2
        20. Defendant violated the FDCPA based on the following:
3
               a. Defendant violated §1692g(a)(4) of the FDCPA by failing to include in its initial
4
                   correspondence with Plaintiff a statement that if the consumer notifies the debt
5
                   collector in writing within the thirty-day period that the debt, or any portion thereof,
6
                   is disputed, the debt collector will obtain verification of the debt or a copy of a
7
                   judgment against the consumer and a copy of such verification or judgment will be
8
                   mailed to the consumer by the debt collector;
9
           WHEREFORE, Plaintiff, PIPER ZIV, respectfully requests judgment be entered against
10
     Defendants, WESTSIDE RECOVERY SERVICES; LEONARD GILBERT d/b/a WESTSIDE
11
     RECOVERY SERVICES, LLC; LEONARD GILBERT, an individual, for the following:
12
        21. Statutory damages of $1000.00 pursuant to the Fair Debt Collection Practices Act, 15
13
           U.S.C. 1692k;
14
        22. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act,
15
           15 U.S.C. 1692k;
16
        23. Any other relief that this Honorable Court deems appropriate.
17

18                                COUNT II
           DEFENDANT VIOLATED THE ROSENTHAL FAIR DEBT COLLECTION
19                             PRACTICES ACT

20
        24. Plaintiff repeats and realleges all of the allegations in Count I of Plaintiff’s Complaint as

21         the allegations in Count II of Plaintiff’s Complaint.

22
        25. Defendant violated the RFDCPA based on the following:

23
               a. Defendant violated §1788.17 of the RFDCPA by continuously failing to comply

24                 with the statutory regulations contained within the FDCPA, 15 U.S.C. § 1692.

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1          WHEREFORE, Plaintiff, PIPER ZIV, respectfully requests judgment be entered against

2    Defendants, WESTSIDE RECOVERY SERVICES; LEONARD GILBERT d/b/a WESTSIDE

3    RECOVERY SERVICES, LLC; LEONARD GILBERT, an individual for the following:

4       26. Statutory damages of $1000.00 pursuant to the Rosenthal Fair Debt Collection Practices

5          Act, Cal. Civ. Code §1788.30(b),

6       27. Costs and reasonable attorneys’ fees pursuant to the Rosenthal Fair Debt Collection

7          Practices Act, Cal. Civ Code § 1788.30(c), and

8          Any other relief that this Honorable Court deems appropriate.

9

10
                                                RESPECTFULLY SUBMITTED,
11

12    DATED: December 30, 2015                  WESTGATE LAW

13
                                       By: /s/ Matthew A. Rosenthal
14                                             Matthew A. Rosenthal
                                               Attorney for Plaintiff
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